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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

  NANCY GIMENA HUISHA-HUISHA, on
  behalf of herself and others similarly
  situated, et al.,

     Plaintiffs,

                                                       Civ. A. No. 21-100 (EGS)
         v.

  ALEJANDRO MAYORKAS, Secretary of
  Homeland Security, et al.,

      Defendants.


                      DECLARATION OF ATTORNEY JOSEPH ST. JOHN

        I serve as a Deputy Solicitor General in the Louisiana Department of Justice. I am counsel

for the State of Louisiana in Louisiana v. Centers for Disease Control, No. 6:22-cv-885 (W.D.

La.). I make this declaration in support of Louisiana’s Motion to Intervene in the above-captioned

litigation. This declaration is based on my personal knowledge, and I could competently testify to

its contents if called to do so.

        1.         Exhibit 1 is a true and accurate copy of preliminary injunction briefing filed in

Texas v. Biden, No. 4:21-cv-579 (N.D. Tex.), as obtained from Westlaw.

        2.         Exhibit 2 is a true and accurate copy of an Appendix to Texas’s Renewed Motion

for Preliminary Injunction filed in Texas v. Biden, No. 4:21-cv-579 (N.D. Tex.), as obtained from

Westlaw.

        3.         Exhibit 3 is a true and accurate copy of Plaintiff States’ Motion for Preliminary

Injunction and to Expedite, a supporting brief, and supporting evidence filed in Louisiana v.




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Centers for Disease Control, No. 6:22-cv-885 (W.D. La.), as obtained from Westlaw. Bates

numbering has been added to the lower right corner for ease of reference.

       4.      Exhibit 4 is a true and accurate copy of a Preliminary Injunction entered in

Louisiana v. Centers for Disease Control, No. 6:22-cv-885 (W.D. La.), as obtained from Westlaw.

       5.      Exhibit 5 is a true and accurate copy of an Order by the U.S. Court of Appeals for

the Fifth Circuit filed to the docket in Louisiana v. Centers for Disease Control, No. 6:22-cv-885

(W.D. La.), as obtained from Westlaw.

       6.      Exhibit 6 is a true and accurate copy of Defendants’ Notice of Decision Vacating

Title 42 Orders filed in Louisiana v. Centers for Disease Control, No. 6:22-cv-885 (W.D. La.), as

obtained from Westlaw.

       7.      Exhibit 7 is a true and accurate copy of a letter filed in Louisiana v. CDC et al, No.

22-30303 (5th Cir.), as obtained from Westlaw.

       8.      Exhibit 8 is a true and accurate copy of a transcript of the videotaped deposition of

Raul L. Ortiz, as obtained from the State of Florida.

       9.      Exhibit 9 is a true and accurate copy of a document obtained from the State of

Florida. I am informed and believe Exhibit 9 was produced to Florida by the United States.

       10.     Exhibit 10 is a true and accurate copy of a Supplemental Declaration of Stephen

W. Manning filed in East Bay Sanctuary Covenant v. Barr, No. 4:19-cv-4073 (N.D. Cal.), as

obtained from Westlaw.

       11.     Further declarant sayeth naught.




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I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
STATES OF AMERICA AND THE STATE OF LOUISIANA THAT THE FOREGOING IS
TRUE AND CORRECT.
Executed in New Orleans, Louisiana, this 21st day of November 2022.

                                                 /s/ Joseph Scott St. John




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